                 Case
                  Case:
                      2:11-cv-01759-BJR
                        15-35393, 05/15/2015,
                                          Document
                                              ID: 9539478,
                                                    127 Filed
                                                           DktEntry:
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                              May 15, 2015


       No.:                 15-35393
       D.C. No.:            2:11-cv-01759-BJR
       Short Title:         Sierra Club, et al v. Dennis McLerran, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case
         Case:
             2:11-cv-01759-BJR
               15-35393, 05/15/2015,
                                 Document
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                   UNITED STATES COURT OF APPEALS
                                                                     FILED
                          FOR THE NINTH CIRCUIT
                                                                    MAY 15 2015
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 SIERRA CLUB; CENTER FOR                       No. 15-35393
 ENVIRONMENTAL LAW AND
 POLICY,
                                               D.C. No. 2:11-cv-01759-BJR
              Plaintiffs - Appellees,          U.S. District Court for Western
                                               Washington, Seattle
 SPOKANE TRIBE OF INDIANS,
                                               TIME SCHEDULE ORDER
              Intervenor-Plaintiff -
 Appellee,

   v.

 DENNIS J. MCLERRAN; LISA P.
 JACKSON; UNITED STATES
 ENVIRONMENTAL PROTECTION
 AGENCY,

              Defendants - Appellants,

 and

 SPOKANE COUNTY; KAISER
 ALUMINUM WASHINGTON, LLC;
 STATE OF WASHINGTON,
 DEPARTMENT OF ECOLOGY,

              Intervenor-Defendants.



The parties shall meet the following time schedule.
        Case
         Case:
             2:11-cv-01759-BJR
               15-35393, 05/15/2015,
                                 Document
                                     ID: 9539478,
                                           127 Filed
                                                  DktEntry:
                                                      05/15/15
                                                            1-4, Page
                                                                 Page 33 of
                                                                         of 33
If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Fri., May 22, 2015            Mediation Questionnaire due. If your registration for
                              Appellate ECF is confirmed after this date, the
                              Mediation Questionnaire is due within one day of
                              receiving the email from PACER confirming your
                              registration.
Mon., June 15, 2015           Transcript shall be ordered.
Tue., July 14, 2015           Transcript shall be filed by court reporter.
Mon., August 24, 2015         Appellants' opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.
Tue., September 22, 2015 Appellees' answering brief and excerpts of record
                         shall be served and filed pursuant to FRAP 32 and
                         9th Cir. R. 32-1.

The optional appellants' reply brief shall be filed and served within fourteen
days of service of the appellees' brief, pursuant to FRAP 32 and 9th Cir. R.
32-1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                                  FOR THE COURT:
                                                  Molly C. Dwyer
                                                  Clerk of Court

                                                  Kathy Morris
                                                  Deputy Clerk
